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                           EXHIBIT A
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Attorneys for Plaintiff, Peter Reissig

                                         ) SUPERIOR COURT OF NEW JERSEY
PETER REISSIG, An Individual,            ) SUSSEX COUNTY-LAW DIVISION
                                         )
      Plaintiff,                         )  DOCKET NO.: SSX-L-
                                         )
v.                                       )
                                         )
JPMORGAN CHASE BANK,                     )           Civil Action
NATIONAL ASSOCIATION,                    )
t/a CHASE, A Corporation,                )
                                         )
      Defendant,                         )
                                         )           COMPLAINT
                                         )
                                         )

      Plaintiff, Peter Reissig, an individual, by way of complaint against JPMorgan

Chase Bank, National Association t/a Chase, says:

                                    PARTIES

      1.     Peter Reissig is an individual and has an address of 79 Bracken Hill

Road, Hamburg, New Jersey.

      2.     JPMorgan Chase Bank, National Association, t/a Chase (hereinafter

“Chase”), is a corporation that, upon information and belief, has a main business

address of 1111 Polaris Parkway, Columbus, OH 43240, and a New Jersey agent
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address c/o CT Corporation System, 820 Bear Tavern Road, West Trenton, New

Jersey 08628.

                           JURISDICTION AND VENUE

      3.     The dispute between the parties arises out of business dealings having

occurred in the state of New Jersey.

      4.     Plaintiff has an address in the county of Sussex, state of New Jersey

and defendant maintains bank branches in Sussex County.

                            FACTUAL BACKGROUND

      5.     On April 27, 2007, by way of warranty deed, individuals by the name of

Jacques La Vertue and Caroline Kozah transferred to Peter Reissig and Judy

Reissig Unit 102 of Villa D’Este, a condominium complex located at 746 Via Genova,

Deerfield Beach, FL 33443. See Exhibit “A”, Warranty Deed.

      6.     On the same date, Peter Reissig and Judy Reissig executed a mortgage

with Washington Mutual Bank, FA in relation to Unit 102 of the property

(hereinafter the “Unit”). See Exhibit “B”, Satisfaction of Mortgage.

      7.     The mortgage secured a note in the principal sum of $350,000.00 and

secured lender’s interest in the Unit. See Exhibit “B”, Satisfaction of Mortgage.

      8.     Upon information and belief, some time prior to October 15, 2009,

Chase acquired Washington Mutual Bank FA’s interest in the note and mortgage.

      9.     On October 15, 2009, all obligations under the note and mortgage were

satisfied. See Exhibit “B”, Satisfaction of Mortgage.




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      10.   On September 12, 2011, by way of warranty deed, Peter Reissig and

Judy Reissig transferred the Unit to Judy Reissig. See Exhibit “C”, Warranty Deed.

      11.   On March 1, 2012, Judy Reissig deeded the Unit to Earl E. Devaney

and Judith L. Devaney. See Exhibit “D”, Warranty Deed.

      12.   Notwithstanding the satisfaction of the mortgage, and transfer of the

Unit first from Peter Reissig and Judy Reissig to Judy Reissig, and then from Judy

Reissig to Earl E. Devaney and Judith L. Devaney, demands for payment from

Chase to Judy Reissig and Peter Reissig continued.

      13.   Judy Reissig and Peter Reissig unwittingly continued making

payments, in accordance with demands from Chase.

      14.   It is estimated that from 2012 to 2014, $15,000.00 was paid Chase on

behalf of Judy Reissig (now deceased) and plaintiff, and that from, 2015 to the

present, over $55,000.00 was paid.

      15.   In a recent demand for payment, Chase makes reference to a “line of

credit” on a mortgage as the basis for its demand, although that mortgage was

cancelled years ago and although the Unit was transferred to a third-party years

ago. See Exhibit “E”, Chase Statement.

      16.   In or around 2023, after the passing of his wife, plaintiff realized that

payments to Chase had perhaps been made for years on a long since cancelled

mortgage. He therefore made inquiry of Chase.




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      17.      On July 17, 2023, Chase responded to plaintiff’s request for

information about the “home equity account”.         See Exhibit “F”, communication

dated July 17, 2023.

      18.      Chase wrote that it doesn’t “have the Note” so it could not “provide a

copy”. Ibid.

      19.      On August 15, 2023, plaintiff wrote again to Chase stating as follows:

               Please be advised that I have been in contact with Chase
               regarding these accounts. This is my second letter for
               request to obtain the original signed documents.

               The enclosed letters from Chase show these documents
               are not existing.

               My deceased wife, Judy Reissig, was the sole owner of the
               above-mentioned property which she sold in 2012.

               She continued paying this Chase account each month not
               realizing that this was in error and should not have been
               paid.

               The Chase representative I spoke with agreed, no further
               payments should be made until such time that I am
               provided with the original requested documents.

               Please update your records accordingly to prevent any
               adverse reflection on my credit score.

See Exhibit “G”, letter dated August 15, 2023.

      20.      Notwithstanding plaintiff’s letters and phone conversations with

Chase, on August 31, 2023, Chase wrote as follows:

               “Please send us a payment right away. . . . We haven’t
               received your mortgage payment(s), so we want to give
               you information about how to bring your account up to
               date.




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             You can avoid additional late fees by making your
             payment today. If you already sent your payment, please
             ignore this letter.

See Exhibit “H”, letter dated August 31, 2023.

      21.    In short, Chase has continued to collect payment, and attempted to

collect payment, on a mortgage that was satisfied and cancelled years ago.

      22.    Plaintiff has made the payments for years at the continuing demands

of Chase, prior to discovering the error, and has, due to Chase’s improper demands

for payment, suffered damages as a result.

                                    COUNT ONE
                         (Violation of Consumer Fraud Act)

      23.    Plaintiff incorporates by reference the allegations of the preceding

paragraphs of this complaint.

      24.    Defendant is a person as defined by N.J.S.A. 56:8-1(d).

      25.    Defendant    has   engaged    in   deceptive,   abusive,   unconscionable,

fraudulent, and misrepresentative practices by charging payments to the plaintiff

for a mortgage that was satisfied many years ago.

      26.    Defendant    has   engaged    in   deceptive,   abusive,   unconscionable,

fraudulent, and misrepresentative practices by collecting payments for a mortgage

that was satisfied many years ago.

      27.    Defendant has similarly engaged in prohibited conduct by threatening

plaintiff to report his failure to tender payment to credit reporting agencies.




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       28.     This was done notwithstanding defendant’s own representations that

it has no evidence of a loan obligation and that plaintiff should cease making

payments.

       29.     Defendant’s conduct as aforesaid constitutes a violation of New

Jersey’s Consumer Fraud Act.

       30.     As a direct and proximate result of defendant’s conduct as aforesaid

plaintiff has suffered damages by paying amounts for years that were never merited

or required.

       WHEREFORE, the plaintiffs demands judgment against defendant pursuant

to N.J.S.A. 56:8-1 et seq. for:

               A.    Compensatory damages;

               B.    Consequential damages;

               B.    Incidental damages;

               C.    Attorney’s fees;

               D.    Treble damages;

               E.    Costs of suit;

               F.    Punitive damages; and

               E.    Any and all additional relief the Court deems equitable and just.

                                     COUNT TWO
                                  (Unjust Enrichment)

       31.     Plaintiff incorporates by reference the allegations of the preceding

paragraphs of this Complaint.




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      32.    Chase has been unjustly enriched as a result of demanding and

receiving payment on a mortgage that was satisfied years ago.

      33.    Plaintiff has advanced monies in good faith to which Chase has no

legal or factual right or claim.

      34.    Plaintiff has suffered damages as a result.

      WHEREFORE, plaintiff demands judgment against the defendant, for:

             a.     compensatory damages;

             b.     incidental and consequential damages;

             c.     costs;

             d.     any and all additional damages the court deems equitable and

                    just.


                                         JEFFER, HOPKINSON & VOGEL
                                         Attorneys for Plaintiff,
                                         Peter Reissig


Dated: October 5, 2023             By:   /s/ Allan B. Thompson
                                         ALLAN B. THOMPSON, ESQ.
                                         For the Firm




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                             RULE 4:5-1 CERTIFICATION

       Pursuant to Rule 4:5-1, the undersigned, attorney for plaintiff Peter Reissig

in the above-captioned matter, hereby certifies that to the best of my knowledge,

information and belief, no other action involving the matter in controversy herein is

pending or contemplated by the plaintiff. Further, other than the parties set forth

in this pleading, we know of no other parties that should be joined in the above

action. In addition, we recognized the continuing obligation of each party to file and

serve on all parties and the court an amended certification if there is a change in

the facts stated in this original certification.

       I certify that confidential identifiers have been redacted from documents now

submitted to the court, and will be redacted from all documents submitted in the

future in accordance with R. 1:38-7(b).




Dated:        October 5, 2023                      /s/ Allan B. Thompson
                                                   ALLAN B. THOMPSON




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                      Exhibit A
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                      Exhibit B
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                      Exhibit C
     SSX-L-000418-23 10/05/2023 10:09:32 AM Pg 2 of 4 Trans ID: LCV20233048692
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                      Exhibit D
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                      Exhibit E
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                       Exhibit F
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                      Exhibit G
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                      Exhibit H
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                        Civil Case Information Statement
 Case Details: SUSSEX | Civil Part Docket# L-000418-23

Case Caption: REISSIG PETER VS JPMORGAN CHASE                    Case Type: CONTRACT/COMMERCIAL TRANSACTION
BANK,                                                            Document Type: Complaint
Case Initiation Date: 10/05/2023                                 Jury Demand: NONE
Attorney Name: DAVID H ALTMAN                                    Is this a professional malpractice case? NO
Firm Name: JEFFER HOPKINSON & VOGEL                              Related cases pending: NO
Address: 1600 ROUTE 208 NORTH BOX 507                            If yes, list docket numbers:
HAWTHORNE NJ 07507                                               Do you anticipate adding any parties (arising out of same
Phone: 9734230100                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : REISSIG, PETER                        Does this case involve claims related to COVID-19? NO
Name of Defendant’s Primary Insurance Company
(if known): None                                                 Are sexual abuse claims alleged by: PETER REISSIG? NO




        THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? YES




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 10/05/2023                                                                                           /s/ DAVID H ALTMAN
 Dated                                                                                                             Signed
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